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                       IN THE UNITED STATES DISTRICT COURT

                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                              CRIMINAL NO. 21------

          v.                                          DATE FILED:

ALBERTO BURGOS                                        VIOLATION:
                                                      18 U.S.C. § 922(g)(l) (possession of
                                                      firearm by a felon - 1 count)
                                                      Notice of forfeiture

                                         INDICTMENT

                                          COUNT ONE

THE GRAND JURY CHARGES THAT:

               On or about September 9, 2020, in Philadelphia, in the Eastern District of

Pennsylvania, defendant

                                     ALBERTO BURGOS,

knowing he had previously been convicted in a court of the Commonwealth of Pennsylvania of

a crime punishable by imprisonment for a term exceeding one year, knowingly possessed a

firearm, that is, a Smith & Wesson model 638 Airweight, .38 Special +P caliber revolver,

bearing serial number CYH3841, loaded with five live rounds of ammunition, and the firearm

was in and affecting interstate commerce.

               In violation of Title 18, United States Code, Section 922(g)(l ).
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                                  NOTICE OF FORFEITURE

THE GRAND JURY FURTHER CHARGES THAT:

               As a result of the violation of Title 18, United States Code, Section 922(g)(1), set

forth in this indictment, defendant

                                      ALBERTO BURGOS

shall forfeit to the United States of America the firearm and ammunition involved in the

commission of this offense, including:

               1. a Smith & Wesson model 638 Airweight, .38 Special +P caliber revolver,

                   bearing serial number CYH3841; and

               2. five live rounds of ammunition.

               Pursuant to Title 28, United States Code, Section 2461(c), and Title 18, United

States Code, Section 924(d).

                                                     A TRUE BILL:




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JENNIFER ARBITTIERWLIAMs
Acting United States Attorney
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No.
UNITED STATES DISTRICT COURT

                   Eastern District of Pennsy 1vania
                          Criminal Division


               THE UNITED STATES OF AMERICA
                                      vs.
                        ALBERTO BURGOS

                            INDICTMENT
                                 Count
18 U.S.C. § 922(g)(l) (possession of firearm by a felon -1 count)
                         Notice of forfeiture




                               Foreman

  Filed in open court this ______________ day,
        Of _ _   _________A.D. 20______

                                Clerk

                     Bail,$-     ----            -
